TO: Clerk's Office
      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK



       APPLICATION FOR LEAVE
   TO FILE DOCUMENT UNDER SEAL


                                                                                        A)If pursuant to a prior Court Order:
                                                                                        Docket Number of Case in WHiich Entered:
In Rc: Arrcsi Warrants
                                                                                        Judgc/iMagistratc Judge:
                                                                                        Date Entered:


                                                      19-830 M
                                                      Docket Number



                                                                                        B)If a new application, the statute, regulation, or other legal basis that
SUBMITTED BY: Plaintiir         Defendant       DOJ    ✓                                authorizes filing under seal
Na me: A USA Andrcy Spektor
Firm Namc:U.S. Attorney's OlTice. EDNV
Address:   271 Cad man Plaza East
           Brooklyn, NY 11201
Phone Nuinber: 8-:^t7000                                                                ORDERED SEALED AND PLACED IN THE CLERK'S OFFICE,
E-Mail Address:andrcy.spcktor((t;Usdoi.gov                                              AND MAY NOT BE UNSEALED UNLESS ORDERED BY
                                                                                        THE COURT.
INDICATE UPON THE PUBLIC DOCKET SHEET: YES                 NO ✓
If yes,state description of document to be entered on docket sheet:                     DATED; Brooklyn                          , N^I^YORK
                                                                                               September 17, 2019



                                                                                        U.S. DISTRICr.lUDCI'VU.S. MAGIST RATE JUDGE

                                                                                        RECEIVED IN CLERK'S OFFICE September 17, 2019
                                                                                                                                      DATE
MANDATORY CERTIFICATION OF SERVICE:
A.)     A copy of this application either has been or will be promptly served upon all parlies to this action, B.) Ser\'icc is excused by 31 U.S.C. 3730(b),or by
the following other statute or regulation:      ; or C.) ^ This Is a criminal document submitted, and llight public safety, or security arc significant concerns.
(Check one)

                           September 17, 2019
                                                                                                                                                                     Case 1:20-cr-00008-MKB Document 1-1 Filed 09/17/19 Page 1 of 1 PageID #: 13




                             DATE            "                           SIC?NATURE
